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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                     )
 ALEXANDRA MCCABE,                                   )
                                                     )
                     Plaintiff,                      )
                                                              Civil Action No. 1:21-cv-368-CKK
                                                     )
                        v.                           )
                                                     )
 SALLY ALBRIGHT, et al.,                             )
                                                     )
                   Defendants.                       )
                                                     )


          STIPULATION AND ORDER REGARDING INITIAL DISCLOSURES

       Plaintiff Alexandra Tara McCabe (“Plaintiff” or “McCabe”) and Defendant Sally

Albright (“Defendant” or “Albright”) (collectively, “the Parties”) hereby stipulate and agree that

the Parties shall not be required to serve Initial Disclosures in this matter.

                                               Respectfully submitted,

Dated: August 8, 2022                           s/ Daniel Hornal (D.C. Bar No. 1005381)
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So Ordered: ______________________________
